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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF CONNECTICUT




 BOEHRINGER INGELHEIM
 PHARMACEUTICALS, INC.,

                  Plaintiff,

         v.                               No. 3:23-cv-1103-RNC

 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES et al.,

                  Defendants.



                   REPLY BRIEF IN SUPPORT OF DEFENDANTS’
                   CROSS-MOTION FOR SUMMARY JUDGMENT


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                                          INTRODUCTION

        Plaintiff’s response caricatures the Drug Price Negotiation Program as a coercive “price-set-

ting” regime, in which manufacturers have no choice but to participate. Pl.’s Combined Resp. & Reply

Br., ECF No. 92 at 1 (Resp.). Even if Congress had enacted such a law, it would have trampled no

constitutional principle. After all, prescription drugs have “long been the source of public concern

and the subject of government regulation.” Ruckelshaus v. Monsanto Co., 467 U.S. 986, 1007 (1984).

And the Supreme Court has made clear that Congress can impose various “condition[s]” on manu-

facturers of such “dangerous chemicals,” who have no inherent right to sell those drugs at all. Horne

v. Dep’t of Agric., 576 U.S. 350, 365-66 (2015) (discussing Monsanto Co., 467 U.S. at 1007). But Congress

chose not to exercise that kind of compulsive regulatory authority here. Instead, it adopted a more

flexible approach.

        In enacting the Negotiation Program, Congress did nothing more than set terms on which

Medicare will do business with willing participants. Congress has long set similar terms for other

federal healthcare programs administered by the Department of Defense and the Department of Vet-

erans Affairs. See, e.g., 38 U.S.C. § 8126(a)-(h). And it has clear authority to do so. As another district

court correctly recognized, Congress’s authorization for the Department of Health and Human Ser-

vices (HHS) to negotiate how much Medicare pays for drugs “cannot be considered a constitutional

violation” because drug manufacturers “are not legally compelled to participate in the [Negotiation]

Program—or in Medicare generally.” Dayton Area Chamber of Com. v. Becerra, No. 3:23-cv-156, 2023

WL 6378423, at *11 (S.D. Ohio Sept. 29, 2023) (Chamber). “[P]harmaceutical manufacturers who do

not wish to” make their drugs available at negotiated prices can “opt out” by, for example, withdrawing

from the Medicare and Medicaid programs or divesting their interests in the drugs subject to negotia-

tion before 2026, when the negotiated prices would first take effect. Id. This basic fact, as Defendants

explained in their opening brief, disposes of Plaintiff Boehringer Ingelheim’s (BI’s) Fifth Amendment

challenges. See Defs.’ Mot. Sum. J. Br., ECF No. 48-1 at 19-33 (MSJ). Although manufacturers like

BI may be dissatisfied with the conditions that Congress attached to future Medicare spending,




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acceptance of those conditions and “participation in Medicare, no matter how vital it may be to a

business model, is a completely voluntary choice.” Chamber, 2023 WL 6378423, at *11.

       As it did in its opening brief, BI continues to claim that the Negotiation Program should not

be seen as voluntary because manufacturers face economic pressure to participate. But courts—in-

cluding the Second Circuit—have uniformly rejected similar challenges to “federal statutory scheme[s]

designed to control Medicare costs.” Garelick v. Sullivan, 987 F.2d 913, 914 (2d Cir. 1993). And BI’s

attempts to evade this established framework not only misread the underlying legal authorities but

also would rewrite decades of established law about Congress’s spending powers. There is no basis

to do so. Drug manufacturers may choose whether to participate in Medicare—but they do not have

a constitutional right to unilaterally dictate how much the government spends on their drugs.

       Even aside from this threshold defect, BI’s Fifth Amendment claims are untenable. As De-

fendants previously explained, BI’s theory that the Negotiation Program effects a physical taking of

its property is irreconcilable with the text and structure of the Inflation Reduction Act (IRA). See MSJ

at 25-30. Notwithstanding BI’s efforts to read between the lines of the statute in search of hidden

meanings, Congress did not require manufacturers to relinquish any drugs they do not wish to sell.

Absent such a requirement, BI’s physical-taking theory—the only taking theory it posits—has no

foothold. And BI’s related claim that the Negotiation Program violates the Due Process Clause ig-

nores that BI has no protected property interest in its Medicare reimbursement rate.

       BI gets no further with its First Amendment challenge. The company continues to insist that

the agreements it signs with the Centers for Medicare & Medicaid Services (CMS) will force it to adopt

the government’s message. But that assertion is belied by the plain language and purpose of the

agreements, which are purely commercial instruments, and which do not require manufacturers to

express or adopt any viewpoint at all. A proper review of those agreements and their role within the

Negotiation Program makes clear that the agreements are not expressive, and thus do not give rise to

any First Amendment concerns. And a review of the IRA’s language likewise makes clear that Con-

gress exempted CMS from notice-and-comment requirements for the first few years of the Program—

thus putting to rest BI’s Administrative Procedure Act (APA) claim.


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        Disposing of all these claims leaves only BI’s Eighth Amendment challenge to the IRA’s excise

tax. But BI’s response fails to overcome the two justiciability barriers Defendants previously identi-

fied. First, as a constitutional matter, the claim is not redressable because BI filed this suit against

HHS and CMS but not Treasury and the IRS—the only agencies empowered to enforce the tax pro-

vision. And although BI protests that HHS and CMS have a supporting role to play in connection

with the tax, it offers no basis to conclude that enjoining HHS and CMS would redress any alleged

tax-related harm. Second, BI’s preemptive challenge to the excise tax is barred by the Anti-Injunction

Act (AIA), 26 U.S.C. § 7421(a). BI does not dispute that, on its face, the AIA applies here, requiring

BI to pay the tax and then press its constitutional claims in a refund suit—which it can do by paying

the tax on a single sale of a single drug. BI nonetheless asks the Court to excuse it from having to

comply with that requirement. The Court should reject that invitation because no exception to the

AIA applies. In any event, BI’s tax claim fails on the merits because the excise tax is not a “fine,” let

alone an “excessive” fine. BI still does not identify a single case in which a tax was held to be a “fine”

under the Excessive Fines Clause. And even if the excise tax here were different, it would not be an

unconstitutionally excessive fine for reasons BI fails to rebut.

        In short, the IRA tracks decades of precedent establishing the kinds of conditions that Con-

gress can attach to Spending Clause programs. Rather than rewrite this precedent for BI’s benefit,

this Court should follow the Chamber decision and recognize that BI’s claims fail “as a matter of law.”

2023 WL 6378423, at *11.

                                            ARGUMENT

I.      THE NEGOTIATION PROGRAM IS VOLUNTARY

        As much as Congress may have wanted pharmaceutical manufacturers to negotiate discounts

for their high-price drugs, the statute does “not legally compel[]” them to do so. Chamber, 2023 WL

6378423, at *11. Both the IRA’s text and CMS’s implementing guidance give manufacturers multiple

options “to opt out” of the Negotiation Program—before, during, and after negotiations. Id.; see also

MSJ at 22-24 (detailing the exit options). That is fatal to BI’s Fifth Amendment challenge. In the

Second Circuit, as elsewhere, a “property owner must be legally compelled to engage in price-regulated


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activity for [those] regulations to” impugn a property interest that the Fifth Amendment protects.

Garelick, 987 F.2d at 916 (emphasis added); see also Baker Cnty. Med. Servs., Inc. v. U.S. Att’y Gen., 763

F.3d 1274, 1279 (11th Cir. 2014) (hospital cannot bring a takings challenge to “its rate of compensation

in a regulated industry for an obligation it voluntarily undertook”). Because “there is no constitutional

right (or requirement) to engage in business with the government” at all, Congress was free to make

the Negotiation Program a condition of manufacturers’ “completely voluntary” participation in Med-

icare and Medicaid. Chamber, 2023 WL 6378423, at *11.

        Attempting to resist this result, BI presses a series of old and new objections to the choices

Congress put before manufacturers. But BI’s efforts to rewrite Congress’s bargain misunderstand

both the IRA and the underlying authorities. Indeed, BI’s legal theory is inconsistent with decades of

well-settled precedent about how the government can structure its funding programs. Accepting that

theory would require the Court to unjustifiably, and radically, rewrite Spending Clause law.

        A.      Manufacturers Are Not Legally Compelled to Participate in the Program
        BI begins by claiming that the Negotiation Program is legally involuntary because CMS’s se-

lection of BI’s drug “forced” BI into the Program—and took the “decision whether to enter th[e]

program[]” out of BI’s hands. Resp. at 6-7. But this formulation simply ignores reality.

        The IRA was enacted into law in August 2022 and provided that the first selection of drugs

would occur by September 2023 based on the criteria that Congress established. See 42 U.S.C.

§ 1320f(d)(1). Manufacturers had no obligations under the Negotiation Program before October

2023. See id. § 1320f(d)(4). As Defendants explained in their opening brief, manufacturers of selected

drugs that were unwilling to accept the Negotiation Program as a condition of Medicare participation

for the 2023 plan year and beyond could have withdrawn from Medicare and Medicaid using proce-

dures that CMS spelled out in its Revised Guidance—all while avoiding both the requirements of the

Program and potential tax liability. See MSJ at 22-23; CMS, Revised Guidance at 33-34 (June 30, 2023),

https://perma.cc/K6QB-C3MM (Revised Guidance) (providing that manufacturers of selected drugs

that wish to withdraw from Medicare and Medicaid need only notify CMS of that intent “30 days in




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advance of the date that excise tax liability otherwise may begin to accrue”). 1 Manufacturers that chose

not to terminate their Medicare and Medicaid agreements did so with the understanding that—going

forward—they would be accepting the Negotiation Program’s requirements. See generally 42 U.S.C.

§ 1320f-3 (requiring the Secretary to negotiate prices). So manufacturers were never “legally com-

pelled to enter the Program”: the decision whether to participate was solely the manufacturers’ to

make. Resp. at 8.

        As a legal matter, the Court need go no further. Manufacturers’ ability to decide whether they

want to continue participating in Medicare knowing that their drugs had been (or might in the future

be) selected for negotiation places the Negotiation Program on all fours with other Medicare condi-

tions—and is sufficient to render the Program fully voluntary under this Circuit’s precedent. See Garel-

ick, 987 F.2d at 916; see also Whitney v. Heckler, 780 F.2d 963, 972 (11th Cir. 1986) (“It is well established

that government price regulation does not constitute a taking of property where the regulated group

is not required to participate in the regulated industry.”). Even if manufacturers are then “subject to

the Program for a period of time,” that is the natural consequence of the voluntary decision they made.

Resp. at 8. Such “consequences . . . cannot be considered a constitutional violation.” Chamber, 2023

WL 6378423, at *11 (citations omitted).

        Because the withdrawal options spelled out in the Revised Guidance are favorable to manu-

facturers, there is neither any need nor any constitutional basis for this Court to consider BI’s claims

that those procedures do not align with CMS’s statutory authority. See Bond v. United States, 564 U.S.

211, 225 (2011) (plaintiffs “have ‘no standing to complain simply that their Government is violating

the law’” (citation omitted)). But even if they were properly presented, BI’s complaints would fail.

        The exit options CMS articulated in its Guidance derive from statutory provisions authorizing

the “Secretary [to] provide for termination of [the relevant] agreement . . . for a knowing and willful


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          Similarly, manufacturers whose drugs were not selected in the first negotiation cycle could
withdraw before the next round of drug selection. See 42 U.S.C. § 1395w-114a(b)(4)(B)(ii) (providing
that any “manufacturer may terminate” the relevant agreement “for any reason,” and that “if the ter-
mination occurs before January 30 of a plan year,” it shall be effective “as of the day after the end of
the plan year”); id. § 1395w-114c(b)(4)(B)(ii) (similar).


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violation of the requirements of the agreement or other good cause shown.” 42 U.S.C. § 1395w-

114a(b)(4)(B)(i) (emphasis added); id. § 1395w-114c(b)(4)(B)(i) (same). BI asks this Court to read the

phrase “other good cause shown” as limited to “‘knowing and willful violations of the requirements

of the agreements’ and related malfeasance.” Resp. at 8. Tellingly, BI does not volunteer what type

of circumstance would be covered by that interpretation—likely because any example would empha-

size that its construction would reduce the independent “good cause” clause to a nullity. Yet “one of

the most basic interpretive canons” is that “‘[a] statute should be construed so that effect is given to

all its provisions, so that no part will be inoperative or superfluous, void or insignificant.” Corley v.

United States, 556 U.S. 303, 314 (2009) (quoting Hibbs v. Winn, 542 U.S. 88, 101 (2004)). And it is hard

to see how a manufacturer indicating that it wishes to withdraw from its agreements early—which

would be inconsistent with the agreements’ terms—would not constitute “good cause shown” in this

context, particularly when BI itself claims that the absence of a speedy exit option would raise serious

constitutional questions. See, e.g., United States ex rel. Polansky v. Exec. Health Res., Inc., 599 U.S. 419, 429

n.2 (2023) (“good cause” is “a uniquely flexible and capacious concept, meaning simply a legally suf-

ficient reason” (citation omitted)). 2
        Further, BI cannot rebut the fact that—even under the more extended withdrawal timeline

that BI concedes exists absent CMS’s guidance—manufacturers can still notice their withdrawal from

Medicare and Medicaid and have that withdrawal take effect before any negotiated prices become

operative. See MSJ at 23-24. After all, the IRA creates a 28-month delay between when the first drugs

are to be selected for negotiation and when any negotiated prices would take effect. See id. During

that period, a manufacturer can indicate that it intends to withdraw from Medicare—and have that

withdrawal take effect before it ever has to sell its drugs at any negotiated prices. See 42 U.S.C.


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           BI makes a passing objection that CMS articulated the withdrawal options “[a]fter several
manufacturers filed lawsuits.” Resp. at 8. But the rush of some manufacturers to challenge the IRA
even before CMS had finalized its Guidance—which the manufacturers knew was forthcoming—can
hardly be laid at the feet of the agency. And BI does not deny that the Revised Guidance, which CMS
promulgated pursuant to Congress’s direction to “implement” the Negotiation Program, forms an
authoritative statement of how the agency will conduct the first round of negotiations—and thus can
be relied upon by manufacturers planning their business affairs.


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§§ 1395w-114a(b)(4)(B)(ii), 1395w-114c(b)(4)(B)(ii). Indeed, manufacturers can notice their termina-

tion before, during, or after their negotiations with CMS—as late as January 2025. Id.

        BI protests that this statutory timeframe does not resolve its concerns about aspects of the

Negotiation Program that are currently ongoing—such as participation in the negotiation process and

submission of data. Resp. at 9. Of course, if BI were truly concerned about these harms, it could

have withdrawn before October 1, 2023—the statutory deadline by which manufacturers of selected

drugs had to decide whether they were going to participate in negotiations. Or BI could withdraw

now. The fact that BI has done neither highlights that—notwithstanding its protestations—BI’s ob-

jections to the withdrawal timelines are a purely academic exercise.

        In any event, BI’s supposed harms are unavailing. The Supreme Court has found that being

able to withdraw from a price-capped market with a “6 or 12 months” delay is sufficient to defeat a

Fifth Amendment claim. Yee v. City of Escondido, 503 U.S. 519, 527-28 (1992). Even setting aside the

Revised Guidance, BI could have provided notice of its withdrawal from Medicare and Medicaid by

January 30 of this year and had that termination take effect by January 2025, squarely within that

timeframe. That—along with all the other options available to manufacturers—is fatal to BI’s legal-

compulsion claim.

        B.      Economic Incentives Do Not Make the Negotiation Program Coercive
        The absence of any legal compulsion to participate in the Negotiation Program requires BI to

resort to the supposed practical difficulty that a manufacturer would face either in divesting its interest

in a selected drug or withdrawing wholesale from Medicare and Medicaid. Resp. at 13-15. But, con-

trary to BI’s repeated claims, the financial feasibility of these options has no bearing on whether the

Negotiation Program is legally voluntary.

                1.      Financial Hardship Does Not Render a Spending Clause Program Involuntary

        Decisions from the Second Circuit and elsewhere dictate that economic or other practical

“hardship is not equivalent to legal compulsion for purposes of” a Fifth Amendment analysis, includ-

ing in the Medicare context. Garelick, 987 F.2d at 917; see also Baker Cnty., 763 F.3d at 1280 (explaining

that “financial difficulties and perceived inequity” of withdrawing “does not diminish the underlying


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voluntariness of the Hospital’s participation in Medicare”); St. Francis Hosp. Ctr. v. Heckler, 714 F.2d

872, 875 (7th Cir. 1983) (the “fact that practicalities may in some cases dictate participation does not

make participation involuntary”). Even where “business realities” create “strong financial inducement

to participate”—such as, for example, when Medicare or Medicaid provides the vast majority of a

nursing home’s revenue—courts have emphasized that the decision to participate in the program “is

nonetheless voluntary.” Minn. Ass’n of Health Care Facilities, Inc. v. Minn. Dep’t of Pub. Welfare, 742 F.2d

442, 446 (8th Cir. 1984); see also Livingston Care Ctr., Inc. v. United States, 934 F.2d 719, 720 (6th Cir.

1991) (explaining that “participation in the Medicare program is a voluntary undertaking” in the con-

text of a nursing home). Drug manufacturers are no more dependent on federal funds than those

facilities. See, e.g., Resp. at 13 (claiming that the “Medicare and Medicaid market accounts for more

than half of BI’s net sales in the United States” (citation omitted)). So there is no basis for this Court

to reach a different result.

        Attempting to evade this precedent, BI repeats its prior argument that the Supreme Court’s

decision in Horne somehow overruled those cases and established that “[e]conomic compulsion is

sufficient” to “establish a constitutional violation.” Resp. at 9-10, 19. But as Defendants explained

in their opening brief, Horne examined voluntariness in the context of a regulatory regime in which

parties could avoid the government’s property demand only by abandoning their business and “ceasing

to” sell their raisins to anyone. Horne, 576 U.S. at 365 (citation omitted); see also Resp. at 12 (noting that

plaintiffs in Horne would have to switch to selling “table grapes, juice, or wine”). In that context, the

Court held that excusing a government’s regulatory obligations by positing that the raisin growers

were voluntarily participating in the market “proves too much” because exiting the business would

deprive the owners of all economic use of its current products in which the owner has a “property

right[].” Horne, 576 U.S. at 365 (citation omitted).

        The same logic animated the other cases that BI cites in support of its financial-hardship co-

ercion argument. See Resp. at 10-11; Thompson v. Deal, 92 F.2d 478 (D.C. Cir. 1937); Union Pac. R.R.

Co. v. Pub. Serv. Comm’n of Mo., 248 U.S. 67 (1918); United States v. Butler, 297 U.S. 1 (1936); Carter v.




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Carter Coal Co., 298 U.S. 238 (1936). 3 As Defendants previously noted, plaintiffs in each of those cases

were subject to regulatory regimes that put them to the choice of either foregoing their interest in selling

goods to private buyers in the market or complying with the government’s conditions. See, e.g. Thomp-

son, 92 F.2d at 484 (regulatory conditions required plaintiffs “to limit the production of cotton” or to

pay a tax); Union Pac., 248 U.S. at 67 (plaintiff was subject to statutory prohibitions against issue of a

bond unless the prohibition was waived by a state commission); Butler, 297 U.S. at 54 (regulatory

scheme establishing limits on production of cotton); Carter Coal, 298 U.S. at 289 (analyzing statutory

scheme regulating the production of coal and a tax “exacted as a penalty to compel compliance with

the regulatory provisions of the act”). Thus, the “coercion by economic pressure” in Butler—a phrase

BI tries to leverage, but which it notably quotes out of context—referred to a “tax [that] plays an

indispensable part in the plan of regulation” involuntarily imposed on farmers. Butler, 297 U.S. at 59,

71, 74-75 (emphasis added); see also Carter Coal, 298 U.S. at 289 (“agreement . . . lack[ed] the essential

element of consent” when it was “coerce[d]” by a “tax” imposed as part of regulatory regime). That

is, coercion existed because, one way or another, the government’s regulatory regime required the plain-

tiffs to surrender a protected property interest, be it in the form of money or goods.

        But this kind of reasoning does not apply when Congress acts pursuant to its spending rather

than regulatory powers and offers “federal funds, [if] the [recipients] agree to comply with federally

imposed conditions.” Cummings v. Premier Rehab Keller, PLLC, 596 U.S. 212, 219 (2022) (internal quotes

and citation omitted). Unlike the raisins in Horne (or the cotton in Thompson), federal funds are prop-

erty that “belong[s] to the State,” and manufacturers have no right in that property “other than such

as the state may permit [them] to acquire.” Horne, 576 U.S. at 366-67 (discussing Leonard & Leonard v.

Earle, 279 U.S. 392, 396 (1929) (quotes omitted)); see also Perkins v. Lukens Steel Co., 310 U.S. 113, 127

(1940) (government has authority to “determine those with whom it will deal”). And, by setting a

condition on how those funds may be paid, the government is neither restricting entities from


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         Notably, BI has seemingly abandoned its reliance on Valancourt Books, LLC v. Garland, 82
F.4th 1222 (D.C. Cir. 2023). Defendants already explained why the logic of that case is inapplicable
here. MSJ at 26. But the same is true for the other cases BI cites.


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engaging in interstate commerce nor burdening their ability to sell goods to private buyers. Simply

put, the government’s offer is voluntary because entities are free to decline it and continue their busi-

ness with every other player in the market. This is so even when the government has more resources

than private entities or where it serves “as the gatekeeper” to a lucrative profit stream. Resp. at 17.

        Given this distinction—between demands that imperil property interests in the context of a

regulatory regime and conditions that Congress sets for voluntary participation in lucrative federal

spending programs—it is not surprising that courts have never looked to plaintiffs’ financial circum-

stances to evaluate the voluntariness of Medicare or Medicaid conditions. See, e.g., Baker Cnty., 763

F.3d at 1279-80 (rejecting hospital’s “challenge [to] its rate of compensation in a regulated industry

for an obligation it voluntarily undertook . . . when it opted into Medicare”); Franklin Mem’l Hosp. v.

Harvey, 575 F.3d 121, 129-30 (1st Cir. 2009); Burditt v. HHS, 934 F.2d 1362, 1376 (5th Cir. 1991).

Rather, courts have consistently recognized that conditions the government attaches to Medicare and

Medicaid participation are inherently “voluntary” because there is no “right (or requirement)” to con-

duct business with the government in the first instance. Chamber, 2023 WL 6378423, at *11; see, e.g.,

Shah v. Azar, 920 F.3d 987, 998 (5th Cir. 2019) (“[P]articipation in the federal Medicare reimbursement

program is not a property interest.”). 4 And this has not changed since Horne. Indeed, as Defendants
observed in their opening brief, some of the cases rejecting Fifth Amendment challenges to Medicare

conditions postdate Horne—and correctly find it inapplicable. See, e.g., Se. Ark. Hospice, Inc. v. Burwell,

815 F.3d 448, 450 (8th Cir. 2016) (discussing “voluntariness” of the “Medicare hospice program” and

citing Horne, 576 U.S. at 366). By contrast, BI fails to identify a single case applying the reasoning of

Horne to find Medicare conditions involuntary.

        In a last-ditch effort to avoid this well-established precedent, BI protests that Garelick and

other decisions that rejected Fifth Amendment challenges to Medicare conditions on grounds of

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           BI protests that the First Circuit in Franklin Memorial Hospital analyzed whether a condition
that a state attached to its healthcare payments was voluntary based on whether the state’s laws created
a “coercive financial incentive.” Resp. at 20 (quoting 575 F.3d at 130). This misstates the analysis.
The court found there could be “no coercive financial incentive to participate” under the relevant
regulations. Franklin Mem’l Hosp., 575 F.3d at 130. The court therefore had no occasion to opine on
whether “financial incentive[s]” could make a program involuntary.


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voluntariness did not involve conditions like the ones here, which BI claims are imposed on “some,

but not all, providers.” Resp. at 18-19. To be clear, the Negotiation Program does not do that either:

although only a certain number of drugs are selected each year, all drug manufacturers that choose to

participate in Medicare do so in recognition that they are subject to the Program’s selection criteria—

which may or may not cause their drugs to be chosen in a particular year. See generally 42 U.S.C.

§ 1320f-1 (setting forth the selection criteria). More fundamentally, however, BI fails to understand

the reasoning of the cases it seeks to distinguish. The courts in those cases rejected constitutional

challenges not because of anything specific to the challenged Medicare rates but rather because they

found those rates are part of programs that do not legally compel participation in the first instance.

See, e.g., Garelick, 987 F.2d at 917; Se. Ark. Hospice, 815 F.3d at 450 (“SEARK voluntarily chose to

participate in the Medicare hospice program [and] ‘[t]his voluntariness forecloses the possibility that

the statute could result in an imposed taking of private property.’” (quoting Minn. Ass’n of Health Care

Facilities, 742 F.2d at 446)); see also Baker Cnty., 763 F.3d at 1279. In doing so, those courts expressly

rejected BI’s contention that a condition cannot be voluntary if a plaintiff’s business model makes it

financially impractical to decline. See, e.g., Minn. Ass’n of Health Care Facilities, 742 F.2d at 446.

        In short, BI has failed to demonstrate that the law established in the Second Circuit and be-

yond is inapplicable to the Negotiation Program. BI’s economic-coercion theory thus fails.

                 2.      “Coercion” Does Not Apply to the Government Purchasing Goods in the Market

        Even setting aside established precedent, BI’s suggestion that “economic compulsion” can

render the federal government’s offer to purchase goods or services “involuntary” is a radical concept

that fails on its own terms. Resp. at 9.

        First, outside the context of regulatory conditions, BI’s only authority for its economic-coer-
cion theory remains the Supreme Court’s decision in National Federation of Independent Business v. Sebelius,

567 U.S. 519 (2012) (NFIB). See Resp. at 10-11, 13. As Defendants previously explained, that decision

is inapposite because federalism was the animating concern of the Court’s “coercion” inquiry. NFIB,

567 U.S. at 577 (plurality opinion) (explaining the need to protect “the status of the States as inde-

pendent sovereigns in our federal system”).           That inquiry was derived exclusively from cases


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addressing how principles of federalism limit Congress’s authority to attach funding conditions on

grants to States—and, in performing that inquiry, the lead opinion did not cite to any Spending Clause

decision concerning private parties. See id. at 579-81 (discussing, inter alia, South Dakota v. Dole, 483

U.S. 203 (1987)). Not surprisingly then, the Supreme Court has also not relied on NFIB’s “coercion”

test when analyzing the application of Spending Clause legislation to private parties. The very next

year after deciding NFIB, for instance, the Court decided Agency for International Development v. Alliance

for Open Society International, Inc., which considered whether the First Amendment permitted the gov-

ernment “to leverage funding to regulate speech outside the contours of the federal program” at issue.

570 U.S. 205, 214-15 (2013). More recently, the Court decided Cummings which, as BI notes, discussed

the “voluntar[iness]” of terms imposed by Spending Clause legislation in the context of identifying

remedies available to private parties. 596 U.S. at 219 (quotes and citations omitted). In neither of

those cases did the Court so much as cite NFIB, much less employ its analysis. Agency for Int’l Dev.,

570 U.S. at 214; Cummings, 596 U.S. at 219. The same result should hold here.
        Second , and even more fundamentally, the Supreme Court has “long held the view that there
is a crucial difference, with respect to constitutional analysis, between the government exercising ‘the

power to regulate or license, as lawmaker,’ and the government acting ‘as proprietor.’” Engquist v. Or.

Dep’t of Agric., 553 U.S. 591, 598 (2008) (quoting Cafeteria & Rest. Workers v. McElroy, 367 U.S. 886, 896

(1961)). When the government acts in the latter capacity, constitutional review “‘must rest on different

principles than review of . . . restraints imposed by the government as sovereign.’” Id. at 599 (quoting

Waters v. Churchill, 511 U.S. 661, 674 (1994)); see also Waters, 511 U.S. at 671 (“[T]he government as

employer . . . has far broader powers than does the government as sovereign.”). As the Supreme

Court has confirmed across a range of different constitutional contexts, “[w]here the government is

acting as a proprietor, managing its internal operations, rather than acting as lawmaker with the power

to regulate or license, its action will not be subjected to the heightened review to which its actions as a

lawmaker may be subject.” Int’l Soc’y for Krishna Consciousness, Inc. v. Lee, 505 U.S. 672, 678 (1992)

(emphasis added); Ridley v. Mass. Bay Transp. Auth., 390 F.3d 65, 79 (1st Cir. 2004) (“[A] lower level of

scrutiny usually applies when the government acts as proprietor.”). Of course, “the Government


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unquestionably is the proprietor of its own funds, [so] when it acts to ensure the most effective use

of those funds, it is acting in a proprietary capacity.” Bldg. & Constr. Trades Dep’t, AFL-CIO v. Allbaugh,

295 F.3d 28, 35 (D.C. Cir. 2002). For this reason, courts do not superintend government contracting

decisions to ensure that the compensation contractors agree to accept reflects “fair market value” for

their products.

        The same principle animates cases Defendants cited in their opening brief dealing with the

difference between States acting as regulators as opposed to purchasers. See Chamber of Com. of U.S. v.

Brown, 554 U.S. 60, 70-71 (2008) (distinguishing between government acting “as a regulator rather than

a market participant”); see also Bldg. & Constr. Trades Council of Metro. Dist. v. Associated Builders & Con-

tractors of Mass./R.I., Inc., 507 U.S. 218, 229 (1993) (discussing the “conceptual distinction between

regulator and purchaser”); Associated Builders & Contractors Inc. N.J. Chapter v. City of Jersey City, 836 F.3d

412, 417-18 (3d Cir. 2016). BI fails to acknowledge those cases. See Resp. at 17-18. But they make

clear that governments, be they state or federal, are subject to different constitutional constraints when

they act as market participants. See, e.g., Allbaugh, 295 F.3d at 36 (“[C]ondition that the Government

imposes in awarding a contract or in funding a project is regulatory only when . . . it ‘addresse[s]

employer conduct unrelated to the employer’s performance of contractual obligations to the [Gov-

ernment].’” (quoting Bldg. & Const. Trades Council, 507 U.S. at 228-29)).

        Contrary to BI’s claims, these distinctions do not vanish merely because the government can

also regulate the relevant market (in often-unrelated ways). Resp. at 17-18. As the authority Defend-

ants previously identified makes clear—and as BI fails to acknowledge—“the Supreme Court has ap-

proved applying the market participant exception even when a State’s regulations are trained on the

specific market in which it participates.” Brooks v. Vassar, 462 F.3d 341, 358 (4th Cir. 2006); see Hughes

v. Alexandria Scrap Corp., 426 U.S. 794, 797 (1976) (the State of Maryland not only participated in the

automobile scrap market but also regulated it); see also Chance Mgmt., Inc. v. South Dakota, 97 F.3d 1107,

1113 (8th Cir. 1996) (finding that, despite South Dakota’s heavy regulation of the state lottery and all

other forms of gambling, the State’s pervasive involvement in running the lottery was not “regulation

of ‘the market,’” but rather was no more than “administering its own business”). Imposing taxes or


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restrictions to “regulate[] the [] market is not sufficient to preclude [the State’s] status as a market

participant.” Brooks, 462 F.3d at 358 (State can regulate liquor market and be a participant).

        So too here. As Defendants detailed in their opening brief, Congress designed the Negotiation

Program to achieve efficient and equitable federal procurement of high-cost prescription drugs. MSJ

at 5-6. These steps to limit government outlays on selected drugs are a valid exercise of Congress’s

power to control federal spending—and reflect Congress’s view that the “general Welfare” is best

served by reducing government expenditures on certain high-cost pharmaceuticals. U.S. Const., art.

I, § 8, cl. 1; cf. Sabri v. United States, 541 U.S. 600, 608 (2004) (“The power to keep a watchful eye on

expenditures . . . is bound up with congressional authority to spend in the first place.”).
        Third, and finally, BI’s economic-coercion argument proves too much. According to BI,
what makes the Negotiation Program “coercive” is the fact that it puts manufacturers to the choice

of accepting Congress’s condition or forgoing Medicare and Medicaid funding generally, which ac-

counts for a large portion of BI’s “net sales.” Resp. at 13-14 (citation omitted). But the same could

be said about numerous conditions that have long been understood as voluntary, not coercive.

        For example, Congress has long required drug manufacturers wishing to participate in Medi-

caid to enter into agreements with the Secretary of Veterans Affairs, which make their covered drugs

available for procurement by the Department of Veterans Affairs and other agencies at or below

statutory ceiling prices. See 38 U.S.C. § 8126(a)-(h). Similarly, Congress routinely requires that parties

accepting Medicare and Medicaid funding observe conditions that reach beyond the specific products

or services that Medicare reimburses. See, e.g., Astra USA, Inc. v. Santa Clara Cnty., 563 U.S. 110, 113-

16 (2011) (describing requirements under 42 U.S.C. § 1396r-8(a)(1), which conditions participation in

the Medicaid Drug Rebate Program on participation in the 340B program, through which participating

drug manufacturers must give discounts to various categories of private purchasers); see also Baker

Cnty., 763 F.3d at 1277-78 (noting that, “[a]s a condition of participating in and receiving payments

from Medicare, a hospital must also opt into EMTALA,” which generally “requires participating hos-

pitals to provide care to anyone who visits an emergency room”). BI’s argument would declare all of

those programs coercive—something no court has previously found. See, e.g., Sanofi-Aventis U.S., LLC


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v. HHS, 570 F. Supp. 3d 129, 209-10 (D.N.J. 2021), rev’d in part on other grounds, 58 F.4th 696 (3d Cir.

2023).

         Even more fundamentally, hospitals, nursing homes, and other entities are not eligible for

Medicare reimbursement for any one service unless they sign a participation agreement acknowledging

their acceptance of the prescribed rates for all of their services that are reimbursable by Medicare. 42

U.S.C. § 1395cc; see also id. § 1395a(b). These participation agreements require the provider to comply

with a series of conditions of participation. See, e.g., 42 U.S.C. §§ 1395cc(b)(2)(B), 1395x(e)(9); 42

C.F.R. §§ 482.1-482.104 (part 482, providing “[c]onditions of [p]articipation for [h]ospitals”). These

include numerous requirements concerning hospital “[a]dministration” and operation, 42 C.F.R.

§§ 482.11-482.15; basic hospital functions, such as staffing and various types of diagnostic and care

procedures, id. §§ 482.22-482.23, 482.26; and various aspects of “pharmaceutical services,” id. § 482.25.

Many of these conditions are not limited to providers’ interaction with Medicare beneficiaries but

instead apply to the providers generally. See, e.g., id. § 482.12 (requiring hospitals to have “effective

governing body”); id. § 482.21 (requiring hospitals to “maintain an effective, ongoing, hospital-wide,

data-driven quality assessment and performance improvement program”); see generally id. §§ 482.22-

482.45 (requiring numerous hospital functions); see also Cummings, 596 U.S. at 217-18 (noting that Con-

gress prohibits “discriminat[ion] . . . on certain protected grounds” “by healthcare entities” receiving

federal funds). And the consequence of declining to accept any condition—including any new condi-

tion that CMS determines is necessary—is potential loss of reimbursement for all services. All such

conditions would be “coercive” under BI’s logic.

         Fortunately, the Supreme Court has recently made clear that it does not view things this way.

As Defendants noted in their opening brief, the Court granted a stay of an injunction against a

COVID-19 vaccine mandate that CMS had imposed for workers at federally funded healthcare facil-

ities. Biden v. Missouri, 595 U.S. 87, 94 (2022). In doing so, the Court observed “the longstanding

practice” of Congress and CMS, under which “healthcare facilities that wish to participate in Medicare

and Medicaid have always been obligated to satisfy a host of conditions that address the safe and

effective provision of healthcare”—conditions which function as a single package. Id. As Defendants


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explained, MSJ at 29, the Court did this even in the face of the challengers raising a “coercion” argu-

ment similar to the one BI presents here. See Becerra v. Louisiana, Nos. 21A240, 21A241, Resp. to Stay

App., 2021 WL 8939385 at *27 (Dec. 30, 2021).

        BI does not address the Missouri decision. And it does not even attempt to wrestle with the

logical outcomes of its economic-coercion theory. But there is a reason no court has embraced such

a theory. If accepted, it would require rewriting a mass of Spending Clause precedent. BI does not

come close to justifying that result.
        C.      The Negotiation Program Does Not Violate the Unconstitutional Conditions
                Doctrine
        Finally, BI cannot transform the practical inconvenience of divesting its drug or withdrawing

from Medicare and Medicaid into a Fifth Amendment problem merely by invoking the phrase “un-

constitutional conditions doctrine.” Resp. at 35-36.

        1.      As Defendants explained in their opening brief—and as the cases BI itself cites

demonstrate—the unconstitutional-conditions doctrine comes into play only when a plaintiff can

show that the government seeks waiver of a concrete constitutional right (such as a vested property

interest) in exchange for a separate discretionary benefit. See, e.g., Koontz v. St. Johns River Water Mgmt.

Dist., 570 U.S. 595, 612 (2013) (explaining that the “predicate for any unconstitutional condi-

tions claim is that the” plaintiff have a protected constitutional right such that the “government could

not have constitutionally ordered the person asserting the claim to do what it attempted to pressure

that person into doing”); Bd. of Comm’rs v. Umbehr, 518 U.S. 668, 674–75 (1996) (analyzing whether

termination of a government contractor impinged a separate First Amendment right); R.S.W.W., Inc.

v. City of Keego Harbor, 397 F.3d 427, 434 (6th Cir. 2005) (explaining that while the unconstitutional

conditions doctrine can “prohibit the government from conditioning benefits on a citizen’s agreement

to surrender due process rights,” the plaintiff must first establish an underlying property interest). As

the Second Circuit explained in a case BI invokes, O’Connor v. Pierson, to “determine whether the [gov-

ernment] violated [plaintiff’s] constitutional rights by insisting on the [condition], we first identify the

right at stake.” 426 F.3d 187, 201 (2d Cir. 2005). Applying this framework in the context of the Fifth



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Amendment, the Second Circuit in O’Connor considered whether a school board could condition a

teacher’s return to work on his waiver of privacy over his medical records only after it concluded that

the privacy of medical records was a protected interest—one that stood wholly apart from the gov-

ernment benefit (resumption of duties) the teacher was trying to obtain. Id.

        Here, however, there is no such distinction between the property right being claimed and the

benefit. In BI’s formulation, Congress allegedly infringed on BI’s due process right because it didn’t

provide adequate procedures for setting the price of a selected drug as part of its overall offer to

continue reimbursing manufacturers’ other products. See Resp. at 37. But BI has no underlying prop-

erty interest in any of those reimbursement rates. See infra Section II.B. So BI’s complaint is not that

the government is leveraging a benefit against a cognizable constitutional right; rather, it is that the

government’s offer is not sufficiently lucrative (though still lucrative enough that it is costly to decline).

As Defendants previously observed, an unconstitutional-conditions theory cannot be bootstrapped in

this way. MSJ at 31. Were it otherwise, plaintiffs dissatisfied with their rate of Medicare reimburse-

ment could always challenge that rate as an unconstitutional condition. That is not the law. See, e.g.,

Garelick, 987 F.2d at 917 (noting that courts have uniformly rejected Fifth Amendment challenges “to

Medicare price regulations”); Baptist Hosp. E. v. Sec’y of HHS, 802 F.2d 860, 869 (6th Cir. 1986) (reject-

ing due process challenge to Medicare reimbursement rates on voluntariness grounds).

        The analogy to government contracts Defendants offered in their opening brief is sound: by

failing to identify an interest apart from the very benefit BI is seeking, BI is akin to a sophisticated

defense contractor asking a court to ensure that the contract it signed with the Pentagon offers suffi-

cient compensation to avoid a Fifth Amendment taking. Contra Resp. at 37. Courts are not in the

business of conducting this kind of oversight. See, e.g., St. Christopher Assocs., L.P. v. United States, 511

F.3d 1376, 1385 (Fed. Cir. 2008) (“In general, takings claims do not arise under a government contract

because . . . the government is acting in its proprietary rather than its sovereign capacity” and any right

to compensation has “been voluntarily created” (citations omitted)).

        2.      BI fares no better in its attempt to have the Court evaluate the Negotiation Program

under the “proportionality test” of Koontz. Resp. at 38-39. As Defendants previously explained, the


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Supreme Court has—time and again—explicitly rejected extending the “rough proportionality” stand-

ard BI advocates beyond “the special context of [] land-use decisions conditioning approval of devel-

opment on the dedication of property to public use.” City of Monterey v. Del Monte Dunes at Monterey,

Ltd., 526 U.S. 687, 702-03 (1999); see also Koontz, 570 U.S. at 604-05 (discussing the doctrine); Lingle v.

Chevron U.S.A. Inc., 544 U.S. 528, 538 (2005) (noting the “special context of land-use exactions”). BI

protests this limitation—but it cannot overcome the Supreme Court’s repeated (and recent) holdings.

See Resp. at 38. Nor can BI establish that the “realities of the [land-use] permitting process,” which

leverage applicants’ vested property interests, have anything in common with Congress setting the

terms on which the government will pay out its own funds. Koontz, 570 U.S. at 604-05.

        BI may be unhappy that Congress created the Negotiation Program as a condition of future

Medicare and Medicaid participation. But BI’s dissatisfaction does not mean the condition is uncon-

stitutional. Congress has made clear that the terms of Medicare and Medicaid can change over time

and that new conditions may be added. See, e.g., 42 U.S.C. § 1304 (Congress reserves the right to

change Medicare terms). BI cannot claim that having to decide whether to continue participating in

those federal programs under a new condition puts manufacturers to an improper choice.

                                            *       *        *

        Throughout its briefing, BI has failed to cite a single case finding conditions on Medicare

participation to violate the Fifth Amendment. That is not surprising. Courts have, for decades, re-

jected such challenges. See, e.g., Garelick, 987 F.2d at 916; Baker Cnty., 763 F.3d at 1276, 1279-80 (col-

lecting cases); Chamber, 2023 WL 6378423, at *11. This Court should do the same.
II.     EVEN IF IT WERE NOT VOLUNTARY, THE NEGOTIATION PROGRAM WOULD NOT
        VIOLATE THE FIFTH AMENDMENT
        Even setting aside the voluntary nature of the Negotiation Program, BI’s response still fails to

establish any Fifth Amendment problem.

        A.      The Negotiation Program Does Not Give Rise to a Physical Taking

        BI does not claim that the Negotiation Program is “so onerous that its effect is tantamount to

a direct appropriation”—i.e., a “regulatory taking.” Lingle, 544 U.S. at 537 (emphasis added). Rather,



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BI’s response confirms that its only Takings Clause argument is that the Negotiation Program effects

a “physical taking” because it “gives third parties the right ‘to literally take access’ to BI’s drugs at the

Government’s price.” Resp. at 25-26. This theory fails outright, however, because—even if partici-

pation in Medicare were not voluntary—the IRA does not require BI to sell its drugs or otherwise

give “access” to them “against its will.” Id. at 25.

        1.      Start with the plain text of the statute, which demonstrates that Congress did not com-

pel manufacturers to sell any drugs in the first instance. Manufacturers participating in the Negotiation

Program merely undertake an obligation “to provide access to such price” as they may negotiate with

CMS (which the statute defines as the “maximum fair price” or “MFP”). 42 U.S.C. § 1320f-2(a)(1),

(3) (emphasis added); see also id. § 1320f-6(a) (defining a “[v]iolation[]” of the agreement as “not

provid[ing] access to a price that is equal to or less than the maximum fair price”). In fact, all uses of

the word “access” in the IRA describe “access to . . . price.” See id. §§ 1320f-2(a), (d), 1320f-6(a). Not

a single provision uses the phrase “access to drugs” or an equivalent. See generally id. If Congress

wanted to mandate physical access to drugs, it would have done so—but it pointedly did not. “Given

this clear language, it would be improper to conclude that what Congress omitted from the statute is

nevertheless within its scope;” after all, “Congress’s choice of words is presumed to be deliberate.”

Univ. of Tex. Sw. Med. Ctr. v. Nassar, 570 U.S. 338, 353 (2013).

        CMS’s Revised Guidance confirms what is evident from the plain language of the statute. As

CMS detailed, the statutory language means manufacturers that agree to a negotiated price for a se-

lected drug “must provide access to the MFP” for Medicare beneficiaries by either “prospectively en-

suring that the price paid by the dispensing entity when acquiring the drug is no greater than the MFP,”

or reimbursing “the difference between the dispensing entity’s acquisition cost and the MFP” for

relevant sales. Revised Guidance at 125-26 (emphasis added). Consistent with the IRA, CMS’s Guid-

ance explains the mechanisms the agency will establish to ensure that manufacturers comply with the

MFP requirements. See generally id. at 125-29 (sections 40.4 and 40.5), id. at 171-72 (discussing what

happens if manufacturer fails “to ensure access to a price that is less than or equal to the MFP”).

Absent from that Guidance—and from the IRA generally—is any mention of a mechanism to force


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manufacturers to actually make sales of any drug, or any suggestion that failure to make a sale consti-

tutes a violation. See id. at 172-73 (listing “[e]xample of [s]ubstantive [v]iolation”); see also 42 U.S.C.

§ 1320f-6(a) (defining violation of an agreement).

        The upshot is that if, after signing the agreement with CMS, BI were to refuse to sell Jardiance

to Medicare beneficiaries, that would not be prohibited by the IRA—and would subject BI to no “penalty.”

Resp. at 27. BI cites no provision of the IRA that forces sales of manufacturers’ drugs against their

will. And, in the absence of such compulsion, BI’s physical-taking theory collapses. See, e.g., Cedar

Point Nursery v. Hassid, 594 U.S. 139, 149 (2021) (“The essential question is . . . whether the government

has physically taken property for itself or someone else—by whatever means—or has instead restricted

a property owner’s ability to use his own property.”). A limit on the price that manufacturers may

charge for drugs sold to Medicare beneficiaries may (or may not) ultimately have an “economic im-

pact” on manufacturers—but it falls squarely on the other side of the “settled difference in [] takings

jurisprudence between appropriation and regulation,” and thus gives rise to no “physical taking” con-

cerns. Horne, 576 U.S. at 362.

        Unable to accept this result, BI grasps for signs that the statute works differently from how

Congress drafted it and how CMS intends to implement it. In particular, BI cites to a provision

regulating when insurance plans contracting with Medicare must include the selected drugs as part of

their formulary—that is, as part of the coverage they provide. See 42 U.S.C. § 1395w-104(b)(3)(I).

Contrary to BI’s suggestion, that statutory provision does not require manufacturers to make sales—

it merely states that Part D insurance plans shall cover the drugs subject to a price agreement that

manufacturers do, in fact, agree to sell. See id. That point is crystallized in CMS’s Revised Guidance,

where CMS addressed concerns that Part D plans may attempt to “steer Part D beneficiaries away

from selected drugs in favor of non-selected drugs that may be associated with higher rebates.” Re-

vised Guidance at 84-85. As CMS explained, it will “use its formulary review process to assess”

whether Part D plans are improperly disadvantaging selected drugs in their coverage policies. Id. at

85. Nothing about that review process or the formulary structure generally contemplates CMS re-

viewing whether a manufacturer has failed to make enough sales of a drug. See generally id. at 84-85.


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        BI makes a passing suggestion that Defendants’ filings in this case and in others have somehow

conceded the contrary interpretation on which BI’s takings theory hinges. Resp. at 27 n.13. Defend-

ants did nothing of the kind: an accurate account of the statements BI quotes and the context in

which they appear confirms that Defendants have never departed from the statutory language. See id.

(quoting Defendants’ briefs); see also IRS Notice No. 2023-52 at 2 (Aug. 4, 2023),

https://perma.cc/B9JZ-ZG7P (stating that manufacturers “agree[ing] to an MFP commit to provide

access to selected drugs at the negotiated prices” (emphasis added)) (IRS Notice). And it hardly needs

saying that Defendants cannot amend the U.S. Code through a litigation brief.
        2.       Separately, BI still fails to rebut Defendants’ observation that, even if Congress had

forced manufacturers to sell their drugs, that would, at most, place those companies within the frame-

work applied to public utilities. See Resp. at 27-28. Indeed, BI itself observes that the utility framework

is applicable only when the property is “partly public, partly private”—and that would be exactly the case

if Congress ordered manufacturers to sell their products. 5 Id. at 28 (quoting Duquesne Light Co. v.

Barasch, 488 U.S. 299, 307 (1989)); Duquesne Light, 488 U.S. at 307 (explaining that what creates the

“partly public, partly private status of utility property” is the fact that those private “assets are em-

ployed in the public interest to provide consumers of the State with electric power”). Yet, as Defend-

ants observed, utility rate-setting has never been treated as a per se or physical taking. See, e.g., Verizon

Commc’ns, Inc. v. FCC, 535 U.S. 467, 524-27 (2002); see also Duquesne Light, 488 U.S. at 307-15 (discussing

evolution of takings jurisprudence with respect to public utilities). Rather, the Supreme Court has

made clear that those takings challenges must follow the course for any traditional regulatory taking—

meaning that they must proceed in an as-applied rather than a facial challenge. See Verizon, 535 U.S.

at 525 (“[T]he general rule is that any question about the constitutionality of ratesetting is raised by


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            BI’s observation that, unlike utilities, its property is “purely private” thus misses the point.
Resp. at 28 (emphasis removed). The reason BI’s drugs are private is precisely because manufacturers
are not ordered to sell their drugs. If BI were compelled to make those sales—as BI seems to believe—
that would make their property partially public, and BI would stand on roughly equal footing with
utilities. Such a transformation would, of course, not “skirt constitutional scrutiny,” Resp. at 28, be-
cause public utilities have their own forms of constitutional protection that reflect their unique “partly
public, partly private” nature, Duquesne Light, 488 U.S. at 307.


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rates, not methods.”). Utility rate-limits are not seen as physical takings because they do not deprive

utilities of the whole “bundle” of rights that are lost when the government physically seizes or invades

property. See, e.g., Horne, 576 U.S. at 361; Verizon, 535 U.S. at 524-25. The same is true here.

        Ultimately, however, because Congress did not obligate manufacturers to surrender their drugs,

the Negotiation Program is (at most) a form of price regulation—except that it regulates only the price

that the government pays. That is not a taking at all, and it is certainly not a physical taking. See, e.g., FCC

v. Fla. Power Corp., 480 U.S. 245, 253 (1987) (“It is of course settled beyond dispute that regulation of

rates chargeable from the employment of private property devoted to public uses is constitutionally
permissible.”). BI’s physical takings theory thus fails.

        B.       The Negotiation Program Raises No Due Process Concerns

        BI’s response likewise cannot rescue its due process theory. BI treats the viability of that

theory as depending solely on whether its participation in the Negotiation Program is voluntary. Resp.

at 21-23. But the other threshold “inquiry in every due process challenge is whether the plaintiff has

been deprived of a protected interest in property or liberty.” Am. Mfrs. Mut. Ins. Co. v. Sullivan, 526 U.S.

40, 59 (1999) (citing Mathews v. Eldridge, 424 U.S. 319, 332 (1976)) (emphasis added). And, regardless

of whether the Program is voluntary, BI fails to establish any protected property interest at stake here.

        1.       For all the reasons discussed in the prior subsection, the Negotiation Program does

not impinge on manufacturers’ interest in their physical drugs because it does not compel sales of any

drug in the first instance. See supra Section II.A. BI thus cannot point to its interest in those drugs as

the relevant interest. Resp. at 21. Rather, what is at stake with the Negotiation Program is the potential

future rate of reimbursement that a manufacturer can receive for a selected drug. Yet BI no longer

even attempts to claim that its rate of Medicare reimbursement can qualify as a protected interest. See

id. at 21-22. And rightly so. As courts have repeatedly emphasized, “providers do not have a property

interest in a particular reimbursement rate.” Managed Pharmacy Care v. Sebelius, 716 F.3d 1235, 1252

(9th Cir. 2013); see also Painter v. Shalala, 97 F.3d 1351, 1358 (10th Cir. 1996) (holding that a physician

has no property interest in “having his [Medicare] reimbursement payments calculated in a specific

manner”); see also Shah, 920 F.3d at 998 (continued “participation in the federal Medicare


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reimbursement program is not a property interest”). This rule reflects the well-settled principle that

it is Congress, not private parties, that has “control over the use of federal funds.” NFIB, 567 U.S. at

579; see also Sabri, 541 U.S. at 608.

        BI’s tacit concession of this point is fatal, however, because without a protected property in-

terest in the rate of Medicare reimbursement its due process theory collapses. Simply put, BI cannot

claim that the procedures for setting its rate of reimbursement are inadequate when it has no protected

interest in that rate. As courts have repeatedly explained, due process protections do not exist in the

abstract: “[o]nly after finding the deprivation of a protected interest do [courts] look to see if the

[challenged] procedures comport with due process.” Am. Mfrs. Mut. Ins., 526 U.S. at 59. BI identifies

no case requiring that the government follow any particular procedures when there is no underlying

property or liberty right at stake. See Resp. at 22-23. And precedent dictates otherwise. See, e.g., Bd.

of Regents of State Colls. v. Roth, 408 U.S. 564, 578 (1972) (untenured professor, whose appointment was

for only one year, did not possess a protected property interest in continued employment, and univer-

sity was therefore not required “to give him a hearing when they declined to renew his contract of

employment”).

        2.       BI cannot overcome this central flaw in its due process theory by pointing to a sup-

posed property interest in the business data that it would submit to CMS. Resp. at 23-24. As BI itself

notes, an intrusion on a protected property interest in data can occur either when data is improperly

disclosed or when the government uses that data in a manner “contrary to the owner’s expectations.”

Id. at 24; see also Monsanto, 467 U.S. at 1011, 1013-14 (applying this test). Thus, in Monsanto, the Supreme

Court considered whether the petitioner was “aware of the conditions under which the data [were]

submitted” to determine whether the petitioner’s property interest had been infringed. Id. at 1007. 6

But BI does not suggest that CMS will improperly disclose trade secrets—and both the IRA and the

Revised Guidance expressly assure that CMS will not. See, e.g., Revised Guidance at 33 (“CMS will

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           BI protests in a footnote that Monsanto applied this test in the context of a takings, rather
than a due process, claim. Resp. at 24 n.11. But BI identifies no authority to suggest that the test for
whether a property right exists is different depending on which clause of the Fifth Amendment the
court is applying. See id.


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protect the confidentiality of any proprietary information from Primary Manufacturers or Secondary

Manufacturers . . . as required under section 1193(c) of the Act and other applicable law.”); id. at 123

(“CMS will implement a confidentiality policy that is consistent with existing federal requirements for

protecting proprietary information[.]”). And, as Defendants explained, manufacturers have long dis-

closed confidential data to CMS for purposes of CMS calculating reimbursements, so they cannot

claim that the submission of data runs contrary to their expectations. See, e.g., 42 U.S.C. § 1396r-

8(b)(3) (requiring participating manufacturers to report drug pricing data).

        Even more fundamentally, BI cannot point to its data as the relevant interest because—as

Defendants previously noted—the procedures BI has challenged as inadequate in this case relate to

the prices that the IRA authorizes CMS to negotiate, rather than the submission of data. See, e.g., Resp.

at 21 (claiming that “[w]hen the Government sets prices, it must provide the procedural safeguards”

(emphasis added)). Attempting to overcome this mismatch, BI asserts that it has an interest in with-

holding its business data from the government to ensure that the government does not use that infor-

mation “to undermine BI’s interests” during price negotiations. Id. at 24. But again, the establishment

of a price—with or without BI’s desired procedures—does not impinge on BI’s interest in its data. And

further processes for protecting BI’s data would not limit CMS’s “discretion” to negotiate a price. Id.

at 21. So BI’s complaints about lack of procedures for data submission cannot form the basis for the

type of due process claim it presses. See, e.g., Mathews, 424 U.S. at 334-35 (explaining that, in a due

process challenge, the plaintiff must establish “the risk of an erroneous deprivation of such interest

through the procedures used,” and “the probable value, if any, of additional or substitute procedural

safeguards”).

                                           *       *       *

        The IRA does not infringe on BI’s interests in its physical drugs and BI has no protected

property interest in its rate of Medicare reimbursement. BI’s Fifth Amendment takings and due pro-

cess claims thus fail for those independent reasons.




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III.       THE NEGOTIATION PROGRAM DOES NOT VIOLATE THE FIRST AMENDMENT

           BI’s First Amendment arguments likewise repeat the same conceptual errors that animated

BI’s opening brief. In particular, BI continues to assert that signing agreements with CMS is a form

of expression that it is “compel[led]” to undertake. Resp. at 28. But that is not true.

           A.      As a starting point, BI’s speculation about the agreements’ supposed purpose—which

BI claims is “to provide support for the Government’s preferred narrative” and “tap into a politically

popular concept,” id. at 29, 35—fails to overcome the reality that the agreements are purely commer-

cial arrangements. As Defendants detailed in their opening brief, these agreements exist solely to

memorialize manufacturers’ voluntary undertaking of a commitment to participate in the Negotiation

Program—and, ultimately, to charge Medicare beneficiaries no more than the negotiated prices. See

Revised Guidance at 118-20. Healthcare providers and other entities execute similar agreements to

memorialize their acceptance of the terms for participation across a range of federal healthcare pro-

grams. See, e.g., 42 U.S.C. §§ 1395cc, 1396r-8(a)-(b), 1395w-112(b)(1). For example, the Medicare

Participating Physician or Supplier Agreement uses the word “agreement” 29 times to indicate that

the parties are entering a commercial arrangement and share a common understanding of their obli-

gations.        See CMS, Medicare Participating Physician or Supplier Agreement (CMS-460),

https://perma.cc/U69K-MTJR. Contrary to BI’s insistence, such agreements are “not directed at the
communication of information” about the signatories’ views at all—and any conduct restriction “is

imposed ‘for reasons unrelated to the communication of ideas.’” Nicopure Labs, LLC v. FDA, 944

F.3d 267, 291 (D.C. Cir. 2019) (quoting Lorillard Tobacco Co. v. Reilly, 533 U.S. 525, 569 (2001)).

           Any speech implicated by the execution of these agreements is thus “plainly incidental to the

. . . regulation of conduct” that the agreements govern: namely, the establishment of future prices

that the government will pay for drugs. Rumsfeld v. Forum for Acad. & Institutional Rts., Inc. (FAIR), 547

U.S. 47, 62 (2006); see also Expressions Hair Design v. Schneiderman, 581 U.S. 37, 47 (2017) (a “law’s effect

on speech [that is] only incidental to its primary effect on conduct” does not draw First Amendment

scrutiny). Put another way, the only thing these agreements regulate are the actual prices, and the words

used in the agreements are merely a means by which that regulation of prices is given effect. These


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types of commercial arrangements in the service of “ordinary price regulation do[] not implicate con-

stitutionally protected speech.” Nicopure, 944 F.3d at 292 (citing Expressions Hair Design, 581 U.S. at

47); see also Sorrell v. IMS Health Inc., 564 U.S. 552, 567 (2011) (“[T]he First Amendment does not

prevent restrictions directed at commerce or conduct from imposing incidental burdens on speech.”);

Nat’l Ass’n of Tobacco Outlets, Inc. v. City of Providence, 731 F.3d 71, 77 (1st Cir. 2013) (“[P]rice regulations

and other forms of direct economic regulation do not implicate First Amendment concerns.”).

        Notably, BI does not even acknowledge that the agreements it protests have any commercial

purpose. See generally Resp. at 29-32. Instead, it continues to argue that Congress’s use of terms like

“negotiation[]” “agreement” and “maximum fair price”—which Congress employed as statutory

terms of art—compels manufacturers to endorse colloquial understandings of the words and phrases.

Id. at 29. Of course, the agreement itself includes an explicit disclaimer to the contrary—precisely to

avoid the kind of misunderstanding Plaintiffs seem intent on creating. See CMS, Medicare Drug Price

Negotiation Program Agreement (“Template Agreement”), https://perma.cc/6VG4-KKF6. Con-
trary to Plaintiffs’ cramped reading, the point of that disclaimer is not to “cure” some defect in the

agreement or statute by “disclaim[ing]” the otherwise expressive content of the agreement. Resp. at

33-34. Rather, the point is to underscore the fact that the terms of the agreement are used solely as

statutory terms of art, not as forms of colloquial expression about what is “fair.”

        It is this absence of expressive content in the agreement that distinguishes the IRA from the

precedent BI cites in its response. See, e.g., Expressions Hair Design, 581 U.S. at 47 (First Amendment

implicated by a law that did not regulate “the amount [merchants] are allowed to collect from a cash

or credit card payer” but instead directly targeted “how sellers may communicate their prices” (emphasis

added)); Sorrell, 564 U.S. at 567 (prohibition on the sale of doctors’ prescribing information violated

the First Amendment because it “impose[d] a burden based on the content of speech and the identity

of the speaker”); Tinker v. Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 508 (1969) (students wearing

armbands was “a silent, passive expression of opinion”); Texas v. Johnson, 491 U.S. 397, 404-405 (1989)

(evaluating challenge to statute prohibiting flag burning in light of “decisions recognizing the commu-

nicative nature of conduct relating to flags” and accepting as undisputed that respondent’s “conduct


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was expressive”). Indeed, BI identifies no case in which a court found that the words of a contract

are expressive merely because they were written and could be incorrectly understood as conveying a

message. That is not surprising. As the Supreme Court has emphasized, “‘it has never been deemed

an abridgment of freedom of speech or press to’” regulate conduct “‘merely because the conduct was

in part initiated, evidenced, or carried out by means of language, either spoken, written, or printed.’”

Expressions Hair Design, 581 U.S. at 47 (quoting FAIR, 547 U.S. at 62).

        The flaw in BI’s argument is only highlighted by its efforts to analogize manufacturers’ signa-

tures on agreements with CMS to voters’ signatures on political petitions and to students’ wearing of

armbands to protest the Vietnam War. See Resp. at 31-32 (citing John Doe No. 1 v. Reed, 561 U.S. 186,

195 (2010); Tinker, 393 U.S. at 505). BI asserts that its signing of an agreement carries the same

expressive content as those activities. Id. That would doubtlessly come as a surprise to the plaintiffs

in those cases—who signed petitions and expressed unpopular viewpoints not to open a new bank

account or pay for a car but rather to engage in core First Amendment activity of political expression.

See, e.g., Reed, 561 U.S. at 195 (noting that “the individual’s signature” on a petition “expresses [a]

political view”). Ultimately, BI’s categorical claims that its commercial agreements with CMS convey

the same type of “message” is nothing more than an unsupported assertion that all contracts are nec-

essarily expressive speech. Resp. at 35.

        BI tries to distance itself from this result by claiming that the “IRA’s statutory scheme is

unique.” Resp. at 35. But BI’s objection is to the statute’s use of specific terms like “agree,” “fair,”

or other terms that it views as potentially expressive. Id. And BI offers no principled reason why the

same logic wouldn’t require the Department of Defense to scrub every one of its contracts to ensure

that they never employ those terms, or others like them. See id.; Cf. Cong. Resch. Serv., Defense Primer:

Dep’t of Defense Contractors (Jan. 17, 2023), https://crsreports.congress.gov/product/pdf/IF/IF10600

(noting that in fiscal year 2021, “DOD obligated more money on federal contracts ($397 billion in

current dollars) than the contract spending of all other government agencies combined”). That, of

course, is not the law. As the D.C. Circuit has observed, “the Supreme Court has long rejected the

‘view that an apparently limitless variety of conduct can be labeled speech’” even when “the person


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engaging in the conduct intends thereby to express an idea.” Nicopure, 944 F.3d at 291 (quoting United

States v. O’Brien, 391 U.S. 367, 376 (1968), citing Barnes v. Glen Theatre, Inc., 501 U.S. 560, 570 (1991)).

BI’s “extraordinary argument, if accepted, would extend First Amendment protection to every com-

mercial transaction”—contrary to current law. Id.

        B.      BI’s First Amendment concerns are all the more inapt given that participation in the

Negotiation Program is a voluntary undertaking. See supra Section I. If manufacturers are truly con-

cerned that their signing of an agreement to negotiate will be—incorrectly—perceived as their adop-

tion of the government’s message, they can decline to participate in the program. In this way too,

there is no compulsion for manufacturers to say—or to be perceived as saying—anything at all.

        Contrary to BI’s claims, viewing the Negotiation Program this way does not raise the specter

of it being an unconstitutional condition. See Resp. at 37-39. Even if the negotiation agreements

raised First Amendment questions—which they do not, for all the reasons above—Congress is free

to attach “conditions that define the limits of the government spending program.” Agency for Int’l

Dev., 570 U.S. at 214. Here, of course, the program that Plaintiffs protest is the negotiation of prices.

See 42 U.S.C. § 1320f-3(a). So, signing something termed an “agreement” after the completion of that

negotiation—and promising to give Medicare beneficiaries the benefit of the agreed-upon price—is

nothing more than “the activit[y] Congress wants to subsidize.” Agency for Int’l Dev., 570 U.S. at 214-

15; see also United States v. Am. Libr. Ass’n, Inc., 539 U.S. 194, 211 (2003) (“Within broad limits, ‘when

the Government appropriates public funds to establish a program it is entitled to define the limits of

that program.’” (quoting Rust v. Sullivan, 500 U.S. 173, 194 (1991)).

        Indeed, no portion of the agreement that BI protests (nor the IRA generally) purports to

“regulate speech outside the contours of the [Negotiation] [P]rogram” or places restrictions on the

manufacturers themselves. Agency for Int’l Dev., 570 U.S. at 214-15; see also Rust, 500 U.S. at 197 (ex-

plaining that the Court’s “‘unconstitutional conditions’ cases involve situations in which the Govern-

ment has placed a condition on the recipient of the subsidy . . . thus effectively prohibiting the recipient

from engaging in the protected conduct outside the scope of the federally funded program”). BI does

not deny that manufacturers are free to continue saying anything they want about the IRA, CMS, or


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the Negotiation Program—both in the course of negotiations and in public. So even if BI were correct

that the agreements are expressive, BI would still be unable to establish that they attach an improper

condition on government funds.

        In the end, BI’s objection to the agreements boils down to the claim that it dislikes the Nego-

tiation Program and does not want to be perceived as supporting it. See Resp. at 29. But BI remains

free to express its viewpoint—as it has. And “Congress is not required by the First Amendment to

subsidize” BI’s preferred messaging. Regan v. Tax’n with Representation of Wash., 461 U.S. 540, 546

(1983); see also Am. Libr. Ass’n, 539 U.S. at 212 (“‘A refusal to fund protected activity, without more,

cannot be equated with the imposition of a “penalty” on that activity.’” (quoting Rust, 500 U.S. at

193)); see Regan, 461 U.S. at 546 (dismissing “the notion that First Amendment rights are somehow

not fully realized unless they are subsidized by the State” (citation omitted)). If BI fears that partici-

pating in the Negotiation Program puts it in conflict with its firmly held principles, it is free to with-

draw from the program. See Chamber, 2023 WL 6378423, at *11. The IRA does not compel unwilling

manufacturers to take the government’s funds.

IV.     BI’S APA CHALLENGE FAILS
        BI’s APA arguments are no more successful. BI centers its response on disputing whether

manufacturers had actual notice of—and opportunity to comment on—the “text of” the manufac-

turer agreements. See Resp. at 45-46. This effort is doomed at the outset because, as Defendants

previously explained, no such notice or opportunities for comment were required. MSJ at 52-54.

Congress expressly authorized CMS to dispense with notice-and-comment requirements when it di-

rected CMS to “implement [the Negotiation Program] for 2026, 2027, and 2028 by program instruc-

tion or other forms of program guidance,” § 11001(c), 136 Stat. at 1854. So, for the current negotiation

cycle, CMS was not required to provide manufacturers any comment opportunities at all.

        Confining its response to one conclusory sentence accompanied by a half-page footnote, BI

claims that the IRA is not sufficiently clear about Congress’s intent to abrogate the notice-and-com-

ment provisions of the APA and the Medicare Act—and that manufacturer agreements should be

excluded from that abrogation. Resp. at 44 & n.25. Neither assertion is tenable. BI’s argument is


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built on the observation that, when directing CMS to proceed through guidance, Congress did not use

the specific phrase “[n]otwithstanding any other provision of law.” Id. But the Supreme Court has

held that Congress need not “use any ‘magical passwords’ to exempt a later statute from the” APA’s

background procedural requirements. Dorsey v. United States, 567 U.S. 260, 274 (2012) (citation omit-

ted). Rather, the requisite intent can be found when, for example, Congress “specifie[s] procedures

. . . that cannot be reconciled with the notice and comment requirements of” the APA or the Medicare

Act. Asiana Airlines v. FAA, 134 F.3d 393, 398 (D.C. Cir. 1998).

        BI fails to address this standard. See Resp. at 44 & n.25. Yet it is controlling here. As De-

fendants have explained, Congress expressly instructed CMS to proceed outside of normal notice-

and-comment procedures in the Negotiation Program’s early years because lawmakers recognized that

CMS was required to make numerous determinations on a tight timeframe—timeframes which did

not allow for traditional notice-and-comment rulemaking. MSJ at 53-54. Cf. Azar v. Allina Health

Servs., 139 S. Ct. 1804, 1816 (2019) (recognizing Congressional authority to alter notice-and-comment

requirements for rulemaking under the Medicare Act). BI provides no basis to believe that manufac-

turer agreements should be treated any differently than other elements of the program that Congress

authorized CMS to “implement . . . by program instruction or other forms of program guidance.”

IRA, § 11001(c), 136 Stat. at 1854. Indeed, there is no basis to distinguish the two. 7
V.      THE COURT LACKS JURISDICTION OVER BI’S EXCISE-TAX CLAIM

        BI’s response likewise fails to overcome two, independent jurisdictional bars that prevent the

Court from reaching the merits of its excise-tax claim: the redressability requirement of Article III

standing and the Anti-Injunction Act. As to the former, BI does not explain how the Court can


        7
          In any event, CMS in fact did provide opportunity to comment on the contents of the
agreement, see Revised Guidance at 30, and BI chose not to avail itself of this opportunity, see MSJ at
55 n.14. Neither the APA nor the Medicare Act would require anything more, even if the IRA hadn’t
prescribed different procedures. Moreover, the agreements do not impose any substantive require-
ments apart from what is stated in the Revised Guidance, which BI (apparently) recognizes was validly
promulgated. The particular details of the agreements that BI now protests (such as the disclaimer
making clear that terms of art are not used in a colloquial sense) are clarifying points that do not alter
manufacturers’ legal obligations. Revised Guidance at 30; see generally MSJ at 54-55.


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redress its alleged tax-related injuries by enjoining only HHS and CMS—but not Treasury and the

IRS—from enforcing § 5000D of the Internal Revenue Code. BI’s redressability problem is particu-

larly pronounced here where enjoining HHS and CMS would likely exacerbate—not alleviate—a man-

ufacturer’s tax liability. As to the latter, BI does not dispute that the AIA, on its face, precludes its tax

claim. And BI’s attempt to contort and broaden the two narrow exceptions to that bar on preemptive

challenges to tax provisions should be rejected.
        A.      BI’s Excise-Tax Claim is Not Redressable
        BI does not dispute that (setting aside the AIA) it would have been proper to sue Treasury

and the IRS in connection with its challenge to the enforcement of § 5000D. Similarly, BI does not

dispute that Treasury and the IRS are the only agencies empowered to assess and collect the excise

tax. Accordingly, enjoining HHS and CMS—but not Treasury and the IRS—would not redress BI’s

tax-related injuries, and BI therefore lacks standing to press its excise-tax claim. See MSJ at 10-12.

        In response, BI offers three reasons to disregard its failure to bring its tax challenge against

the agencies that administer the tax code. See Resp. at 40. None of them establishes that BI has

standing to pursue its tax claim against HHS and CMS.

        First, BI misstates the statutory role of HHS in connection with the excise tax. BI asserts that

the excise tax “can only be imposed after HHS” shares the information described in 42 U.S.C. § 1320f-

5(a)(6). Resp. at 40. That is incorrect. Section 5000D of the Internal Revenue Code establishes that

the excise tax accrues for manufacturers, producers, and importers of designated drugs that choose

not to sign a negotiation agreement or to agree to a maximum fair price—without any action by HHS

or CMS. 26 U.S.C. § 5000D. The excise tax is “imposed on the sale by the manufacturer, producer,

or importer of any designated drug during a day described in subsection (b).” Id. § 5000D(a). Sub-

section (b) then defines the periods during which the tax is assessed. Id. § 5000D(b). For example,

for initial price applicability year 2026, the tax is imposed beginning on October 2, 2023, and “ending

on the earlier of” “the first date on which the manufacturer of such designated drug has in place [a

negotiation agreement]” or “the date that the [HHS Secretary]” determines the standards for deselec-

tion found in 42 U.S.C. § 1320f-1(c) have been satisfied. 26 U.S.C. § 5000D(b)(1) (emphasis added);


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see also 42 U.S.C. § 1320f-1(c) (describing deselection standards). The tax is also imposed, for initial

price applicability year 2026, beginning on August 2, 2024, and “ending on the earlier of” “the first date

on which the manufacturer of such designated drug and the [HHS Secretary] have agreed to a maxi-

mum fair price” or “the date that the Secretary of Health and Human Services” determines the stand-

ards for deselection have been satisfied. 26 U.S.C. § 5000D(b)(2) (emphasis added). For each of these

periods, see id. § 5000D(b)(1), (2), the HHS Secretary may play a role, but that role is to make determi-

nations that would stop—not start—accrual of the excise tax.

        Section 1320f-5(a)(6) does not make HHS responsible for assessing the excise tax—or even

necessary for the IRS’s assessment of it. That section states that HHS is empowered to “carry out”

various “administrative duties,” including sharing “such information as is necessary to determine the

tax imposed by [§] 5000D.” 42 U.S.C. §§ 1320f(a)(4), 1320f-5(a)(6). However, “[f]or purposes of the

preceding sentence, such information” includes “the date on which the Secretary receives notification

of any termination of an agreement under the Medicare coverage gap discount program,” “the date

on which the Secretary receives notification of any termination of an agreement under the manufac-

turer discount program,” and “the date on which the Secretary receives notification of any termination

of a rebate agreement described in section 1396r-8(b).” Id. § 1320f-5(a)(6)(A)-(C). Accordingly, the

HHS Secretary is authorized to provide Treasury with information that would terminate tax liability;

that information is not necessary to the tax “be[ing] imposed.” Resp. at 40.

        That is especially so in the context of the excise tax, where the IRS has proposed regulations

regarding a taxpayer’s obligations to self-report its excise-tax liability. Excise Tax on Designated Drugs;

Procedural Requirements, 88 Fed. Reg. 67,690 (Oct. 3, 2023) (proposing “how taxpayers will report liabil-

ity for the excise tax imposed on manufacturers, producers, or importers of certain designated drugs”).

In other words, a manufacturer, producer, or importer that makes sales of a designated drug to Med-

icare during a period set forth in § 5000D(b) would be responsible for self-reporting and paying the

tax, and potentially subject to examination with respect to the accuracy of its return—regardless of

whether HHS or CMS shares any information with the IRS.




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        Second, BI argues that “even if it were necessary to bind the IRS or the Treasury Department”

to redress its tax claim, “this Court could do so” by issuing an injunction binding the absent agencies.

Resp. at 40. That is so, BI asserts, because Treasury and the IRS are “in active concert or participation”

with Defendants. Id. (quoting Fed. R. Civ. P. 65(d)(2)(C)). BI’s argument—which is not supported

by citation to any caselaw—quickly unravels. The “general principle” governing remedies is “that a

court cannot ‘make a decree which will bind any one but a party.’” Doctor’s Assocs., Inc. v. Reinert &

Duree, P.C., 191 F.3d 297, 302 (2d Cir. 1999) (injunctions that attempt to bind absent parties are “im-

proper”) (quoting Alemite Mfg. Corp. v. Staff, 42 F.2d 832, 832 (2d Cir. 1930)). Rule 65(d)(2)(C) does

not undo that cardinal rule of remedies, but rather serves to prevent those aiding and abetting a named

defendant from violating a court order on the defendant’s behalf. See id. at 303 (injunction “not au-

thorized by Rule 65(d) because the injunction bars” nonparty conduct “that do[es] not aid or abet the

federal defendants in violating the injunctions entered against them”); see also Next Invs., LLC v. Bank

of China, 12 F.4th 119, 134 (2d Cir. 2021) (“relevant inquiry under Rule 65(d) is whether the non-

part[ies] aided or abetted the Defendants’ violations of the court’s orders”); NML Cap., Ltd. v. Republic

of Argentina, 727 F.3d 230, 243 (2d Cir. 2013) (nonparties “could become liable through Rule 65 if they

assist [defendant] in violating the district court’s orders”). Given the rule’s role, it is unsurprising that

BI does not cite a case in which a district court relied on Rule 65(d) to enjoin an absent federal agency.

After all, an injury is not redressable in a suit in which the plaintiff fails to sue the agency directly

responsible for the alleged harm—even if that agency is “in consultation with” the defendant agency.

Lujan v. Defs. of Wildlife, 504 U.S. 555, 558, 570-71 (1992) (plurality opinion) (“redress of the only injury

in fact respondents complain of requires action (termination of funding until consultation) by the

[absent] individual funding agencies”).

        Third, BI attempts to distinguish Haaland v. Brackeen, 599 U.S. 255 (2023), noting that the

named defendants there were federal agencies while the absent parties were state agencies. Resp. at

40. That is a correct description of the facts, but the requirement that a plaintiff must sue the proper

defendant is not limited to cases in which a plaintiff sues the wrong sovereign. Brackeen itself makes

that clear when it cites Lujan—a case in which plaintiffs sued a federal agency, but not the right one—


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for the proposition that when defendants are “not parties to the suit, [] there is no reason they should

be obliged to honor an incidental legal determination the suit produced.” Brackeen, 599 U.S. at 293

(quoting Lujan, 504 U.S. at 569 (plurality opinion)).

        Because BI failed to sue Treasury and the IRS—the only agencies empowered to collect the

tax—in connection with its excise-tax claim, BI has “not shown that [its] injury is ‘likely’ to be ‘re-

dressed by judicial relief’” in this suit. See Brackeen, 599 U.S. at 292 (citation omitted).
        B.       The AIA and DJA Preclude Review of BI’s Excise-Tax Challenge
        BI does not contest that the AIA, on its face, applies to bar BI’s excise-tax claim. See generally

Resp. at 40-41. That concession is unsurprising given that Congress labeled the excise tax a “tax” and

the purpose of BI’s excise-tax claim is to “restrain[] the assessment or collection” of that tax. 26

U.S.C. § 7421(a); see also 26 U.S.C. § 5000D (labeling excise tax a “tax”). That is all that matters for

AIA purposes. NFIB, 567 U.S. at 544, 564 (AIA precludes preemptive challenge to exaction Congress

has “label[ed]” as a “tax”). See generally MSJ at 12-15.

        Nonetheless, BI asserts that the Williams Packing exception to the AIA applies. 8 That exception
does not apply because BI has failed to carry the “double burden” of establishing that “there is no

adequate remedy at law and ‘it is clear that under no circumstances could the Government ultimately

prevail.’” Botta v. Scanlon, 314 F.2d 392, 394 (2d Cir. 1963) (quoting Enochs v. Williams Packing &

Navigation Co., Inc., 370 U.S. 1, 7 (1962)).

        As to whether there is an adequate remedy at law, BI has multiple avenues to press its consti-

tutional challenges in court. BI could file a refund suit in federal district court or in the Court of

Federal Claims after the tax is imposed on just a single sale of a single drug. See 26 U.S.C. § 7422; 28

U.S.C. §§ 1346(a)(1), 1491. 9 Or, if the IRS takes any collection action in connection with unpaid


        8
          Defendants previously explained why the Williams Packing and South Carolina exceptions do
not apply here. See MSJ at 15-18. BI does not contest the inapplicability of the latter exception.
        9
          BI would file a return at the end of the quarter that accurately reported its various sales, pay
the tax owed on at least one of those sales, file an administrative claim for a refund, and then—if the
IRS denies that claim or if six months elapse without a decision—file a refund suit. 26 U.S.C. §§ 6511,
6532(a)(1), 7422(a). BI would only have to pay the tax on a single sale to bring a refund suit.


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excise-tax amounts, BI could raise its constitutional challenge during a collection due process (“CDP”)

hearing and, if unsuccessful, petition the Tax Court for review, see 26 U.S.C. § 6330(d)(1). 10 “The issue

here is when—not if—[BI] may challenge” the excise tax. Fla. Bankers Ass’n v. U.S. Dep’t of the Treasury,

799 F.3d 1065, 1067 (D.C. Cir. 2015).

        BI’s assertions that this judicial review would be inadequate rely on a misunderstanding of

how the excise tax will be assessed and a policy disagreement with Congress about how the AIA

should operate. As a threshold matter, BI again ignores the IRS’s interpretation of the excise tax’s

rate and reach. See Resp. at 4, 41, 43. In a notice that “taxpayers may rely on” now, the IRS has made

clear that it interprets the tax to apply only to a manufacturer’s “sales of designated drugs dispensed,

furnished, or administered to individuals under the terms of Medicare”—i.e., only those drugs dispensed,

furnished, or administered to Medicare beneficiaries. IRS Notice at 3, 5 (addressing interpretation of

26 U.S.C. § 5000D) (emphasis added). The IRS Notice also explains that, after 271 days, the maximum

ratio of the tax to the total amount the manufacturer charges for a drug is 95% (not 1900%, as BI

claims). Id. at 4. BI’s estimates of potential tax liability, see Resp. at 41, therefore rest on significant

miscalculations (against their own interests).

        BI also asserts that the fact that the tax is a “divisible tax” is irrelevant. Resp. at 41. But this

fact matters because, as a divisible tax, it is imposed on each “sale” of a designated drug, 26 U.S.C.

§ 5000D(a), which means that a taxpayer who wishes to challenge such a tax need only pay “the excise

tax on a single transaction” before bringing a refund suit, Rocovich v. United States, 933 F.2d 991, 995

(Fed. Cir. 1991). And “[w]hen a refund suit is pending on a divisible assessment, the [IRS] will exercise

forbearance with respect to collection provided that the interests of the government are adequately

protected and the revenue is not in jeopardy.” IRS Policy Statement 5-16, IRM 1.2.1.6.4(6).

        10
            If BI filed an accurate return, reported its sales and the tax owed, but paid only a portion
of the tax owed and the IRS later took some collection action (e.g., issued notice that it intended to
levy), BI could then contest the constitutionality of the excise tax in a CDP hearing before an impartial
officer in the IRS Independent Office of Appeals. See 26 U.S.C. § 6330(c)(2)(B) (if taxpayer had not
yet had an opportunity to do so, it may “raise . . . challenges to the existence or amount of the under-
lying tax liability” at a CDP hearing); id. § 6330(b)(1) (describing CDP hearing); see also id. § 7803(e)(3)
(describing function of IRS Appeals). If necessary, BI could then file suit in Tax Court.


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        BI nonetheless maintains that even if the tax is divisible, even if it could thus bring a refund

suit after paying the tax on just a single sale, and even if the IRS would not seek to collect any further

tax payments during the pendency of that refund suit, BI would still need a preemptive injunction now

because it would not know whether future sales ultimately would be subject to the excise tax. Resp.

at 41. But that is just another way of saying BI would like to challenge the constitutionality of the

excise tax before paying it—exactly what the AIA forbids. RYO Mach., LLC v. Dep’t of Treasury, 696

F.3d 467, 471 (6th Cir. 2012) (“The AIA has been interpreted broadly to encompass almost all prem-

ature interference with the assessment or collection of any federal tax.”). BI’s argument effectively

boils down to a policy disagreement with Congress: in BI’s eyes, large corporate taxpayers that are

engaged in sizeable or frequent transactions that may trigger substantial tax liability should not have

to wait to challenge the constitutionality of a tax until after paying it. See Resp. at 41. Congress chose

a different path wherein BI’s “sole recourse is to pay the tax and seek a refund.” CIC Servs., LLC v.

IRS, 593 U.S. 209, 225 (2021). Corporate taxpayers often must engage in large transactions without

fully knowing the tax consequences, setting aside reserves to pay any amount of tax that is ultimately

due. And, if anything, BI is better positioned than most, because the excise tax is divisible such that

it will not have to pay the excise tax on more than a single transaction before it can press its constitu-

tional challenge. At that point, if BI prevails—which BI (wrongly) believes it is certain to do, see Resp.

at 41—no further excise tax would be assessed or collected.

        Even if these opportunities for judicial review were inadequate, the Williams Packing exception

would not apply here because BI cannot show that, “under the most liberal view of the law and the

facts,” “it is clear that under no circumstances could the Government ultimately prevail” on the merits.

Williams Packing, 370 U.S. at 7. As set forth below, see infra Section VI.D.1, the excise tax is neither a

“fine” nor an “excessive” one. At the very least, BI has not established a “certainty of success on the

merits,” Bob Jones Univ. v. Simon, 416 U.S. 725, 737 (1974)—a high bar, and one not met here, where

BI has failed to identify a single decision finding a tax to constitute a “fine” for Excessive Fines Clause

purposes or to be an “excessive” fine in violation of the Eighth Amendment. See infra Section VI.D.




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        Because the AIA applies, and because the “federal tax exception to the Declaratory Judgment

Act is at least as broad as the [AIA],” Bob Jones Univ., 416 U.S. at 732 n.7, the Court must dismiss BI’s

tax claim.

VI.     THE EXCISE TAX DOES NOT VIOLATE THE EIGHTH AMENDMENT

        The excise tax does not run afoul of the Excessive Fines Clause of the Eighth Amendment

because it is neither a “fine” nor an “excessive” one. See MSJ at 43-52. In response to Defendants’

brief, BI mostly rehashes arguments it has already made. See Resp. at 42-43. Most noteworthy, how-

ever, is what BI does not say and what cases it is not able to muster: BI still has not cited a single case

in which a tax was deemed to be “punishment for some offense”—that is, a “fine”—under the Ex-

cessive Fines Clause. Similarly, BI still had not identified any tax other than those with a connection

to criminal conduct or criminal proceedings that was held to be “punishment for some offense” under

any provision of the Constitution. BI is thus asking this Court to break new ground by holding that

the IRA’s excise tax—which has no connection to any criminal conduct or criminal proceedings, and

which does not turn on any particular level of culpability—is an excessive fine in violation of the

Eighth Amendment. But BI does not come close to justifying such a result.

        A.       BI faults Defendants for starting at the beginning and asserts that the Court need not

decide at the outset whether the excise tax is deemed to be “punishment for an offense” before pro-

ceeding to the excessiveness inquiry. See Resp. at 42 (citing MSJ at 43-50). BI does not cite a single

case in which a court took such a shortcut, and binding precedent—both from the Supreme Court

and the Second Circuit—are clear that the first step in the Excessive Fines Clause analysis is to ask

whether the exaction at issue constitutes “punishment for an offense.” See United States v. Bajakajian,

524 U.S. 321, 328 (1998) (“Forfeitures—payments in kind—are thus ‘fines’ if they constitute punish-

ment for an offense.”); Austin v. United States, 509 U.S. 602, 609–10 (1993) (“The Excessive Fines

Clause limits the government’s power to extract payments . . . ‘as punishment for some offense.’” (em-

phasis in original) (quoting Browning–Ferris Indus. v. Kelco Disposal, Inc., 492 U.S. 257, 265 (1989))); United

States v. Davis, 648 F.3d 84, 96 (2d Cir. 2011) (“A fine refers to ‘a payment to a sovereign as punishment

for some offense.’” (quoting Browning–Ferris, 492 U.S. at 265)). Against this unbroken line of


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precedent, BI points to a decision it admits “did not reach the plaintiff’s Excessive Fines Clause claim.”

See Resp. at 42 (citing Tyler v. Hennepin Cnty, 598 U.S. 631 (2023)). And the two-Justice concurrence

on which BI relies does not in any event disavow the requirement that an exaction be deemed “pun-

ishment” to come within the ambit of the Excessive Fines Clause. See Tyler, 598 U.S. at 649 (Gorsuch,

J., concurring) (stating that, in the view of the two concurring Justices, “a scheme producing fines that

punishes some individuals” should be subject to excessiveness analysis).

        Next, BI states that “civil penalties may be fines within the meaning of the Eighth Amendment.”

Resp. at 42 (emphasis added). But BI still does not identify—and Defendants are not aware of—any

tax that has been held to be a “fine” under the Eighth Amendment. See id. Conceding that “few cases

addressing the Excessive Fines Clause” involve civil—as opposed to criminal—fines, BI asserts that

“courts have repeatedly concluded that civil exactions fall within the scope of the Eighth Amend-

ment.” Id. at 42-43. In support, BI cites three out-of-circuit decisions. Id. None of them was cited

in BI’s opening brief—and for good reason, as none involves taxes and, in all of them, the sanctions

at issue were those the legislature actually referred to as “fines,” “penalties,” or treble damages assessed

in connection with a statutory penalty. See Pimentel v. City of Los Angeles, 974 F.3d 917, 920 (9th Cir.

2020) (“civil fines for parking meter violations”); WCI, Inc. v. Ohio Dep’t of Pub. Safety, 774 F. App’x

959, 960 (6th Cir. 2019) (“fine” for “nude dancing” “in contravention of Ohio law and liquor-con-

trolled regulations”); United States v. Mackby, 261 F.3d 821, 830 (9th Cir. 2001) (analyzing False Claims

Act liability provision, 31 U.S.C. § 3729(a)(1), which states any person who knowingly presents a false

claim “is liable to the [government] for a civil penalty” and treble damages). Similarly, all of these

“fines” applied only to culpable conduct. See Pimentel, 974 F.3d at 923 (“[P]laintiffs are indeed culpable

[for violating] Municipal Code § 88.13 for failing to pay” use fee (emphasis added)); WCI, Inc., 774 F.

App’x at 967 (analyzing fine imposed for violation of Ohio Admin. Code 4301:1-1-52(B)(2), which

states that “no [liquor] permit holder . . . shall knowingly or willfully allow in and upon his licensed permit

premises any persons to . . . [a]ppear in a state of nudity” (emphasis added)); Mackby, 261 F.3d at 830

(analyzing False Claim Act’s scienter element). Accordingly, none of these newly cited cases involve

exactions similar to the excise tax.


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        Finally, BI fails to respond to most of Defendants’ arguments as to why the excise tax is not

a “fine.” Despite citing the decision in its opening brief, BI does not attempt to rebut Defendants’

argument that the decision in Dep’t of Revenue of Montana v. Kurth Ranch, 511 U.S. 767 (1994), rested on

features—a state drug tax imposed on criminal activity—that are wholly absent here. Similarly, BI has

no response to Defendants’ observation that Kurth Ranch squarely rejected the deterrent-in-part test

on which BI relies—a test that has never been applied by the Supreme Court in the tax context. See

MSJ at 47-48. Finally, BI is silent in response to Defendants’ arguments distinguishing Austin and

Bajakajian—the only cases BI cited in its opening brief in which a court held that an exaction consti-

tuted a “fine” for purposes of the Excessive Fines Clause. As explained, the exactions in those cases—

the in rem civil forfeiture in Austin and the criminal forfeiture in Bajakajian—bear no resemblance to

the excise tax. See MSJ at 45-46. The net result of the various points BI has left unrebutted is that, to

the parties’ knowledge, no court has held that a tax—or even another exaction similar to the excise

tax—was a “fine” under the Excessive Fines Clause.

        B.      Even if BI could establish that the excise tax is a “fine” for Excessive Fines Clause

purposes, it is not an “excessive” one. BI offers nothing new on this front. It again characterizes the

IRS’s interpretation of the scope and reach of the excise tax as “misleading,” and as “a sleight of

hand,” Resp. at 14, 43—mischaracterizations that Defendants have already corrected. see MSJ at 8, 49.

BI then attempts to distinguish an 81 percent penalty, which was held not to be constitutionally ex-

cessive, on the basis that the penalty was “for fraud,” not “perfectly legal” conduct. Resp. at 43 (citing

United States v. Alt, 83 F.3d 779, 784 (6th Cir. 1996)). But Defendants have already explained why the

nature of the conduct at issue here reinforces why the Court should not reach the excessiveness inquiry

in the first place. MSJ at 50 (“That is precisely the point: Because the tax is not triggered by the

commission of any offense—reprehensible or otherwise—it is not ‘punishment for some offense’ and

therefore is not a ‘fine’ under the Excessive Fines Clause.” (emphasis omitted)); see also Davis, 648 F.3d

at 96-97 (discussing Austin and explaining why an exaction that is “unconnected to any criminal pros-

ecution” and that does not turn on any particular level of “culpability” is not a fine in the first instance).




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BI also points again to predictions based on pieces of the statute’s legislative history, Resp. at 43,

without saying a word about arguments Defendants have already offered in response, MSJ at 49-50.

        Finally, BI fails to engage with Defendants’ analysis of the proportionality test. For example,

BI does not dispute that, in applying that test, a court must afford “substantial deference” to Congress.

Solem v. Helm, 463 U.S. 277, 290 (1983); see also Bajakajian, 524 U.S. at 336 (same). That is a high bar

given that, at this stage, before any excise tax has been assessed or collected, BI is challenging whether

assessment of the excise tax at a rate equal to the rate established by Congress would violate the

Excessive Fines Clause. BI does not identify a single case in which a civil penalty assessed within or

below the range set forth by Congress was deemed excessive. And BI does not even attempt to refute

Defendants’ analysis of the Bajakajian factors. See MSJ at 51-52.

        Because the excise tax is neither a “fine” nor an “excessive” one, if the Court reaches the

merits of BI’s Eighth Amendment claim, that claim should be rejected.

                                           CONCLUSION
        For these reasons, and those articulated in Defendants’ opening brief, the Court should deny

Plaintiff’s motion for summary judgment and grant Defendants’ cross-motion.




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Dated: February 26, 2024              Respectfully submitted,

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